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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
v.
BRIAN CHRISTOPHER MOCK,

Defendant.

CRIMINAL NO. 1:21-cr-444 (JEB)

VIOLATIONS:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 641

(Theft of Government Property)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, BRIAN
CHRISTOPHER MOCK attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, BRIAN CHRISTOPHER
MOCK committed and attempted to commit an act to obstruct, impede, and interfere with law
enforcement officers, lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT THREE

On or about January 6, 2021, at approximately 2:29 p.m., within the District of Columbia,
BRIAN CHRISTOPHER MOCK did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), that is, an officer from the United
States Capitol Police, while such person was engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the

victim and the intent to commit another felony.
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(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, BRIAN CHRISTOPHER
MOCK did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), that is, Officer S.K., an officer from the United States Capitol
Police, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the

intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 11 1(a)(1))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, BRIAN CHRISTOPHER
MOCK, using a deadly and dangerous weapon, that is, a flag pole, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
and any person assisting such an officer and employee, while such officer or employee was
engaged in or on account of the performance of official duties, and where the acts in violation of

this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT SIX

On or about January 6, 2021, within the District of Columbia, BRIAN CHRISTOPHER

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MOCK did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and
employee of the United States, and of any branch of the United States Government (including any
member of the uniformed services), and any person assisting such an officer and employee, while
such person was engaged in and on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, BRIAN CHRISTOPHER
MOCK, did embezzle, steal, purloin, knowingly convert to his use and the use of another, and
without authority, sold, conveyed and disposed of any record, voucher, money and thing of
value of the United States and any department and agency thereof, that is, two United States
Capitol Police riot shields belonging to the United States Capitol Police, which have a
value of less than $1,000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, BRIAN CHRISTOPHER
MOCK did knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, without lawful authority to do so, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a

flag pole.
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(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)(1)(A))
COUNT NINE

On or about January 6, 2021, in the District of Columbia, BRIAN CHRISTOPHER
MOCK did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a flag pole.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT TEN

On or about January 6, 2021, in the District of Columbia, BRIAN CHRISTOPHER
- MOCK did knowingly engage in any act of physical violence against any person and property in
a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a flag pole.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and

(b)(1)(A))
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COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, BRIAN CHRISTOPHER
MOCK willfully and knowingly engaged in an act of physical violence within the United States
Capitol Grounds and any of the Capitol Buildings.
(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
